         Case 3:08-cr-00062-LC                Document 244            Filed 10/16/08      Page 1 of 6


FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                            Page 1 of 6
3:08cr62-002LAC - JEREMY BEMBO


                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF FLORIDA
                                         PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                           Case # 3:08cr62-002LAC

JEREMY BEMBO
                                                               USM # 06998-017

                                                               Defendant’s Attorney:
                                                               Shelley G. Reynolds (Apptd)
                                                               3 West Garden Street, Suite 718
                                                               Pensacola, Florida 32502
___________________________________

                                     JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Count One of the Indictment on July 23, 2008. Accordingly, IT IS
ORDERED that the defendant is adjudged guilty of such count which involves the following offense:

       TITLE/SECTION                      NATURE OF                      DATE OFFENSE
          NUM BER                          OFFENSE                        CONC LUDED             COUNT

 21 U.S.C. §§                   Conspiracy to Distribute and               July 3, 2008            One
 841(b)(1)(B)(ii), (iii), and   Posse ss w ith Intent to Distribute
 846                            500 G ram s or Mo re of a Mixture
                                and Substance Containing a
                                Detectable Amount Cocaine
                                and 5 G ram s or Mo re of a
                                Mixture and Substance
                                Containing Base

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

                                                               Date of Imposition of Sentence:
                                                               October 15, 2008


                                                               s /L.A. Collier
                                                               LACEY A. COLLIER
                                                               SENIOR UNITED STATES DISTRICT JUDGE

                                                               October 16, 2008
         Case 3:08-cr-00062-LC                Document 244      Filed 10/16/08   Page 2 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                   Page 2 of 6
3:08cr62-002LAC - JEREMY BEMBO


                                                IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 72 months as to Count One.

         The defendant is remanded to the custody of the United States Marshal.

      The Court recommends that the defendant participate in a Residential Substance Abuse
Treatment program or other similar program, as deemed eligible by the Bureau of Prisons.




                                                    RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

 at _____________________________________________, with a certified copy of this
judgment.


                                                             __________________________________
                                                                   UNITED STATES MARSHAL


                                                           By:__________________________________
                                                                       Deputy U.S. Marshal
           Case 3:08-cr-00062-LC              Document 244         Filed 10/16/08         Page 3 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                 Page 3 of 6
3:08cr62-002LAC - JEREMY BEMBO


                                          SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a
term of Four Years as to Count One.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

      The defendant shall not commit another federal, state, or local crime and shall not
possess a firearm, destructive device, or any other dangerous weapon.

        The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter,
as determined by the court.

           The defendant shall cooperate in the collection of DNA as directed by the probation
officer.

                            STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have
been adopted by this court.

1.         The defendant shall not leave the judicial district without the permission of the court or probation
           officer;

2.         The defendant shall report to the probation officer and shall submit a truthful and complete written
           report within the first five days of each month;

3.         The defendant shall answer truthfully all inquiries by the probation officer and follow the
           instructions of the probation officer;

4.         The defendant shall support his or her dependents and meet other family responsibilities;

5.         The defendant shall work regularly at a lawful occupation, unless excused by the probation officer
           for schooling, training, or other acceptable reasons;

6.         The defendant shall notify the probation officer at least 10 days prior to any change in residence
           or em ploym ent;

7.         The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
           distribute, or administer any controlled substance or any paraphernalia related to any controlled
           substances, except as prescribed by a physician;

8.         The defendant shall not frequent places where controlled substances are illegally sold, used,
           distributed, or administered;

9.         The defendant shall not associate with any persons engaged in criminal activity and shall not
           associate with any person convicted of a felony unless granted permission to do so by the
         Case 3:08-cr-00062-LC                Document 244         Filed 10/16/08        Page 4 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                Page 4 of 6
3:08cr62-002LAC - JEREMY BEMBO

         probation officer;

10.      The defendan t shall permit a probation officer to visit him or her at any tim e at hom e or elsewhere
         and sha ll perm it confiscation of any contraban d observe d in plain view of the proba tion officer;

11.      The defendant shall notify the probation officer within 72 hours of being arrested or questioned by
         a law enforcem ent officer;

12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law
         enforcement agency without the permission of the court; and

13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be
         occasioned by the defendant’s c rim inal rec ord or pe rsonal histo ry or characteristic s and shall
         permit the probation officer to mak e such notifications and to confirm the defendant’s compliance
         with such notifica tion req uirem ent.

14.      If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that
         the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
         forth in the C rim inal Mone tary Penalties she et of this judg m ent.

                   ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised
         release:

         The defendant shall be evaluated for substance abuse and referred to treatment as
         determined necessary through an evaluation process. The defendant may be tested for
         the presence of illegal controlled substances or alcohol at any time during the term of
         supervision.
         Case 3:08-cr-00062-LC                Document 244   Filed 10/16/08   Page 5 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                Page 5 of 6
3:08cr62-002LAC - JEREMY BEMBO


       Upon a finding of a violation of probation or supervised release, I understand the Court
may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions
of supervision.
       These conditions have been read to me. I fully understand the conditions and have
been provided a copy of them.




         Defendant                                                   Date




         U.S. Probation Officer/Designated Witness                   Date
         Case 3:08-cr-00062-LC                Document 244        Filed 10/16/08    Page 6 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                         Page 6 of 6
3:08cr62-002LAC - JEREMY BEMBO


                                  CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the
Bureau of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S.
District Court, unless otherwise directed by the Court. Payments shall be made payable to the
Clerk, U.S. District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-
7717. Payments can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall pay
interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options in the Schedule of Payments may be subject to penalties for default and
delinquency pursuant to 18 U.S.C. § 3612(g).

                                                    SUMMARY
           Special
     Monetary Assessment                                   Fine                    Restitution

              $100.00                                       $0                         $0




                                 SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $100.00 is imposed and is to be paid immediately.

No fine imposed.
No restitution imposed.
